USCA11 Case: 22-11707     Document: 147      Date Filed: 01/11/2024     Page: 1 of 2




                                    In the
                United States Court of Appeals
                         For the Eleventh Circuit

                           ____________________

                                 No. 22-11707
                           ____________________

       PAUL A. EKNES-TUCKER,
       Rev.,
       BRIANNA BOE,
       individually and on behalf of her minor son, Michael Boe,
       JAMES ZOE,
       individually and on behalf of his minor son, Zachary Zoe,
       MEGAN POE,
       individually and on behalf of her minor daughter, Allison Poe,
       KATHY NOE, et al.,
       individually and on behalf of her minor son, Christopher Noe,
                                                      Plaintiﬀs-Appellees,
       versus
       GOVERNOR, OF THE STATE OF ALABAMA,
       ATTORNEY GENERAL, STATE OF ALABAMA,
       DISTRICT ATTORNEY, FOR MONTGOMERY COUNTY,
       DISTRICT ATTORNEY, FOR CULLMAN COUNTY,
USCA11 Case: 22-11707   Document: 147     Date Filed: 01/11/2024   Page: 2 of 2




       2                    Order of the Court                 22-11707

       DISTRICT ATTORNEY, FOR LEE COUNTY, et al.,


                                                 Defendants-Appellants.


                         ____________________

                Appeal from the United States District Court
                    for the Middle District of Alabama
                 D.C. Docket No. 2:22-cv-00184-LCB-SRW
                         ____________________

       ORDER:
           Appellants’ motion to stay preliminary injunction is
       GRANTED.




                                                     DAVID J. SMITH
                                    Clerk of the United States Court of
                                      Appeals for the Eleventh Circuit

                     ENTERED FOR THE COURT - BY DIRECTION
